                         UNITED STATES DISTRICT COURT
                          DISTRICT OF MASSACHUSETTS



ASHENAFI BERHE

             Plaintiff                                 CIVIL ACTION
             v.
                                                 NO.   17-11937-DJC

CHANNEL 7 NEWS et al.
             Defendants.
                           ORDER OF DISMISSAL
CASPER, J.
       In accordance with the Court's ORDER dated January 31, 2018, it is hereby

ORDERED that the above-entitled action be and hereby is dismissed.




                                                 By the Court,

January 31, 2018
                                                  /s/ Daniel C. Hohler
Date
                                                 Deputy Clerk
